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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                   ROME DIVISION

  IN RE:     FREDRICO V. FRYE,                    {   CHAPTER 13
                                                  {
                                                  {
             DEBTOR(S)                            {   CASE NO. R18-40539PWB
                                                  {
                                                  {   JUDGE    BONAPFEL

                             OBJECTION TO CONFIRMATION

       COMES NOW Mary Ida Townson, TRUSTEE herein, and objects to
  Confirmation of the plan for the following reasons:

       1. The Debtor(s)' payments under the proposed plan are not
  current.

       2. The Debtor(s) has proposed to make payments directly to
  the Trustee but should be required to have them remitted by
  payroll deduction.

       3. The Plan as proposed will extend beyond sixty (60)
  months, contrary to 11 U.S.C. Section 1322(d). (81 months).

       4. The Debtor(s) has failed to provide the Trustee with a
  copy of the federal tax return or transcript of such return for
  the most recent tax year ending immediately before the
  commencement of the instant case and for which a federal income
  tax return was filed, in violation of 11 U.S.C. Section
  521(e)(2)(A)(i).

       5. The Debtor(s)’ has/have not filed copies of all payment
  advices or other evidence of payments received within sixty (60)
  days before the date of the filing of the petition as required by
  11 U.S.C. §521(a)(1)(B)(iv) and Rule 1007(b)(1)(E) F.R. Bankr. P.

       6. Pursuant to information received from the Internal
  Revenue Service, 2013, 2016-2017 tax returns have not been
  provided to the taxing authorities; thereby, preventing the
  Chapter 13 Trustee from evaluating the feasibility of the Chapter
  13 plan, in violation of 11 U.S.C. Sections 1322(d) and
  1325(a)(6).


  Mary Ida Townson, Chapter 13 Trustee
  Suite 2200
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  Atlanta, GA 30303-1740
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       7. The Chapter 13 budget fails to include expenses for
  lease payments; thereby, possibly rendering the proposed Chapter
  13 plan payment to be infeasible, in violation of 11 U.S.C.
  Section 1325(a)(6).

       8. The 2016(b) Disclosure Statement and the Chapter 13
  plan are inconsistent with regard to the attorney’s fees received
  pre-petition or to be paid in the plan, or both, in violation of
  11 U.S.C. Section 329 and Bankruptcy Rules 2016(b) and 2017.

       9. Pursuant to information received from the Meeting of
  Creditors, 2016-2017 state and federal tax return(s) have not
  been provided to the taxing authorities; thereby, preventing the
  Chapter 13 Trustee from evaluating the feasibility of the Chapter
  13 plan, in violation of 11 U.S.C. Section 1322(d) and
  1325(a)(6).

       10. The Debtor has failed to file tax returns with the tax
  authorities for the four (4) year period prior to filing in
  violation of 11 U.S.C. Section 1308.

       11. The funding of post-petition lease installments have
  not been maintained in the above-styled Chapter 13 case; thereby
  rendering the present budget and proposed plan infeasible, 11
  U.S.C. Section 1325 (a)(6).

       WHEREFORE, the Trustee moves the Court to inquire into the
  above objections, deny confirmation of this Debtor’s(s’) Plan and
  to dismiss the case; or, in the alternative, convert the case to
  one under Chapter 7.

         April 18, 2018

                                                       /s
                                            Albert C. Guthrie, Esq.
                                            for Chapter 13 Trustee
                                            GA Bar No. 142399




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                               CERTIFICATE OF SERVICE

         This is to certify that I have this day served


  DEBTOR(S):

  FREDRICO V. FRYE
  51 RIDGE ROW DR APT 308
  CARTERSVILLE, GA 30120


  ATTORNEY FOR DEBTOR(S):

  SLIPAKOFF & SLOMKA, PC
  2859 PACES FERRY RD, SE
  STE 1700
  ATLANTA, GA 30339


  in the above in the foregoing matter with a copy of this pleading
  by depositing same in the United States Mail in a properly
  addressed envelope with adequate postage thereon.

  This 18th     day of April, 2018


             /s
  Albert C. Guthrie, Esq.
  for Chapter 13 Trustee
  GA Bar No. 142399




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